 Case 1:20-cv-00155-TH-KFG Document 4 Filed 09/28/20 Page 1 of 2 PageID #: 8




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

CEDRIC TYRONE WALKER                            §

VS.                                             §      CIVIL ACTION NO.        1:20-CV-155

WARDEN, FCI BEAUMONT                            §

                 MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                    JUDGE’S REPORT AND RECOMMENDATION

       Petitioner Cedric Tyrone Walker, a prisoner confined at the Federal Correctional Institution

in Beaumont, Texas, proceeding pro se, filed this petition for writ of habeas corpus pursuant to 28

U.S.C. § 2241.

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court.

The magistrate judge recommends dismissing the petition without prejudice pursuant to Federal Rule

of Civil Procedure 41(b).

       The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.


       SIGNED this the 28 day of September, 2020.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge
Case 1:20-cv-00155-TH-KFG Document 4 Filed 09/28/20 Page 2 of 2 PageID #: 9




                                           ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the report and recommendation of the magistrate judge (document no. 3) is ADOPTED. A final

judgment will be entered in this case in accordance with the magistrate judge’s recommendation.




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